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                           UNITED STATES DISTRICT COURT
                           CENTRAL DIVISION, DISTRICT OF UTAH


UNITED STATES OF AMERICA,
                                                           MEMORANDUM IN OPPOSITION TO
          Plaintiff,                                          DETENTION HEARING FOR
                                                            DEFENDANT ISAIAH KINGSTON
vs.                                                         AND REQUEST FOR IMMEDIATE
                                                                     RELEASE
ISAIAH ELDEN KINGSTON,

          Defendant.                                            Case No. 2:18-cr-365-JNP

                                                             District Court Judge Jill N. Parrish

                                                             Magistrate Judge Brooke Wells



          Defendant Isiah Kingston, through counsel, requests that prior to any detention hearing as

requested by the Government, this Court first consider whether a detention hearing should actually

be held. Isaiah Kingston argues that, pursuant to 18 U.S.C. § 3142, this Court should order his

release, rather than conduct a detention hearing, since the relevant facts and circumstances of the

present case do not represent a basis for this Court to make a threshold finding that Isaiah Kingston

is either a serious risk of nonappearance, or a serious risk or danger to the public or any other

person.     The Government is not entitled under the statute to simply argue that Isaiah Kingston

should be detained, and thereafter ask this Court to conduct a detention hearing.




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                                         RELEVANT LAW

        18 U.S.C. § 3142 states that “[t]he judicial officer shall order the pretrial release of the person

on personal recognizance, or upon execution of an unsecured appearance bond in an amount

specified by the court, subject to [conditions] . . . unless the judicial officer determines that such

release will not reasonably assure the appearance of the person required or will endanger the safety

of any other person or the community.” In general, “persons charged with a crime are not detained

pre-trial.” United States v. Gerkin, 570 F.App’x 819, 820 (10th Cir. 2014)(unpublished). “They may

be released on [their] own personal recognizance or upon execution of an unsecured appearance

bond, or they may be released on a condition or combination of conditions that will ensure their

appearance in court and the safety of the community.” Id. (Internal citations to authority and

quotation marks omitted). As the Supreme Court explained, “In our society liberty is the norm, and

detention prior to trial or without trial is the carefully limited exception.” Id. (quoting United States

v. Salerno, 481 U.S. 739, 755, 107 S.Ct. 2095 (1987)). “The government bears the burden of

proving that a defendant should be detained pre-trial.” Id. (quoting United States v. Cisneros, 328

F.3d 610, 616 (10th Cir. 2003)).

        Under the Bail Reform Act, the Court must undertake a two-part inquiry in determining

whether a particular defendant should be detained pre-trial. See Gerkin, 570 F.App’x at 820-821.

First, the judicial officer must decide whether there is any basis to even hold a detention hearing.

See id. The court shall hold a detention hearing if the Government moves for detention and the

defendant has been charged with certain serious crimes. See id. at 821 (citing 18 U.S.C. §

3142(f)(1)). The court shall also hold a detention hearing on its own motion or on the government’s
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    motion if the case involves “a serious risk that such person will flee,” or a “serious risk that the

    person will obstruct justice or attempt to threaten prospective witnesses.” Id. (citing 18 U.S.C. §

    3142(f)(2)(A)-(B)).

            The second step occurs if the government establishes a basis for a detention hearing. Then,

    “the second step is for the government to show that there is ‘no condition or combination of

    conditions’ that ‘will reasonable assure the appearance of [the defendant] as required and the safety

    of any other person and the community.” Gerkin, 570 F.App’x at 821. “If the judicial officer finds

    that no condition or combination of conditions will reasonably assure the appearance of the person

    as required and the safety of any other person and the community, then the judicial officer shall order

    the person detained before trial.” Id. (citing § 3142(e)) (internal citations omitted). “In determining

    whether the government has established a basis for detention or whether there are appropriate

    conditions of release, the judicial officer is required to consider certain factors set forth in § 3142(g)

Id.1

               THIS COURT FIRST MUST DETERMINE WHETHER THERE IS A
                  THRESHOLD BASIS TO HOLD A DETENTION HEARING

            The first and most critical concern in the present case is that this Court must consider Isaiah

    Kingston’s eligibility for release on an independent basis and as to circumstances applicable to




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  Several other courts have found that Congress did not intend to authorize detention unless the court first
finds that one of the § 3142(f) conditions for even holding a detention hearing exists. See, e.g., United States v.
Ploof, 851 F.2d 7, 11 (1st Cir. 1988) (Congress did not intend to authorize preventive detention unless the
judicial officer first finds that one of the § 3142(f) conditions for holding a detention hearing exists.”); United
States v. Himler, 797 F.2d 156 (3rd Cir. 1986); United States v. Friedman, 837 F.2d 48, 49 (2nd Cir. 1988);
United States v. Byrd, 969 F.2d 106 (5th Cir. 1992); United States v. Twine, 344 F.3d 987 (9th Cir. 2003). In
United States v. Rogers, 371 F.3d 1225, 1227 & n.2 (10th Cir. 2004), the Tenth Circuit also indirectly implied
that § 3142(f) sets out conditions precedent to a detention hearing.
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 him alone. This is a basic legal and constitutional proposition:

                The Government asks the courts to depart from the norm by assuming,
                without the introduction of evidence, that each petitioner is a pawn in a
                conspiracy and will, in obedience to a superior, flee the jurisdiction. To
                infer from the fact of indictment alone a need for bail in an unusually
                high amount is an arbitrary act. Such conduct would inject into our
                own system of government the very principles of totalitarianism which
                Congress was seeking to guard against in passing the statute under
                which petitioners have been indicted.

 Stack v. Boyle, 342 U.S. 1, 5-6, 72 S. Ct. 1, 4 (1951).

        For this reason, the Court must, in addition to the nature of the charges, “take into

 account the difference in circumstances between different defendants.” Boyle, 342 U.S. at 9

 (Jackson, J., concurring). This is so as “[e]ach accused is entitled to any benefits due to his good

 record, and misdeeds or a bad record should prejudice only those who are guilty of them. The

 question when application for bail is made relates to each one's trustworthiness to appear for trial

 and what security will supply reasonable assurance of his appearance.” Id. See also, United

 States v. Briggs, 476 F.2d 947 (C.A.5, Fla.)1973 (Where district court’s order stating reasons

 for denying defendants’ motion to reduce bail did not consider factors with respect to each

 defendant that would justify the conditions of release imposed in the case and concluded that a

 uniform blanket bail was appropriate but not all defendants were charged with the many

 substantive offenses cited and it appeared that three defendants had resided in Gainesville, the

 site of the trial, for some time and one defendant owned a home there and two other defendants

 had ties in the state of Florida and one owned a home in Hialeah, Florida, each defendant was

 entitled to know reasons why particular conditions of release were imposed in his case.)

       Before conducting a detention hearing under 18 U.S.C. § 3142(f). The recent Memorandum

Decision in this District by Magistrate Judge Evelyn J. Furse, in United States v. Wright, 072018
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UTDC, 2:18-cr-336-DN, fully describes the legal framework for this requirement. It is attached

hereto as Exhibit A.

        Isaiah Kingston, through counsel, will be prepared to counter any proffer made by the

 Government to this Court in relation to the threshold finding requirement, and to provide his own

 proffer in support of the present motion.



        Respectfully submitted this 29th day of August, 2018.

                                                     /s/ Scott C. Williams
                                                     Scott C. Williams
                                                     Attorney for Defendant Isaiah Kingston
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                                       DELIVERY CERTIFICATE


       I certify that a true and correct copy of the foregoing was caused to be delivered, through

electronic filing, to the following:




       on the 29th day of August, 2018.
                                                     /s/ Scott C. Williams




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